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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


NIKE, INC.,
                                                     Case No. 20-cv-02615
               Plaintiff,
                                                     Judge Sara L. Ellis
v.
                                                     Magistrate Judge Sidney I. Schenkier
SKR STORE, et al.,

               Defendants.


                      NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure Plaintiff Nike, Inc.

(“Nike” or “Plaintiff”) hereby dismisses this action with prejudice as to the following Defendants:

                  Defendant Name                                    Line No.
                   KINGSDEAL                                           38
                    KLASEUSC                                           67
                        QJUS                                           69
                      klee1599                                         99
                     yamiyuan                                         123
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Dated this 17th day of July 2020.    Respectfully submitted,



                                     /s/ RiKaleigh C. Johnson
                                     Amy C. Ziegler
                                     Justin R. Gaudio
                                     RiKaleigh C. Johnson
                                     Jake M. Christensen
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                                     Counsel for Plaintiff Nike, Inc.




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